Case 1:99-cV-01260-.]DB-tmp Document 88 Filed 04/22/05 Page 1 of 3 Page|D 62

IN THE UNITED sTATEs DISTRICT CoURIi‘
FoR THE wEsTERN msTRICT 0F '1‘t:1\ii\il_tss§;_g;wm ? 9 W ¢v_ ,. ,

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EASTERN DIVISION le a ~~»
ii;.s:~'qs-i. §§
BERNELL S., JR., ) W_t), (L:l" YN. NiEMP\l.»
)
Plaintiff, )
)
vs' ) No.: 1:99-1260 Bre-P
)
CORRECTIONS CORPORATION )
OF AMERICA, et al,. )
)
Defendants. )
ORDER

 

Before the Court is a Joint Motion to Extend Motion to Compel Deadline. The parties
are in agreement that due to the scheduled Mediation in this matter, additional time Would be
useful to attempt to resolve certain issues that have arisen as to Defendants’ written discovery,
and, therefore, the Court finds that the Motion is well taken. Therefore, it is ORDERED that the

deadline to file a Motion to Compel is extended up to and including June 10, 2005.

""'c:%

JUDGE
DATED; ‘{ / l?~/°~Y'_

IT IS SO ORDERED.

 

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,Or 791/aj FHCP::k:t§:le:Q-f:f;:i:?§;a§nce hz 29 Hd 92 adv 90

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APPROVED FOR ENTRY:

   

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COUNSEL FOR DEFENDANTS

CERTIFICATE OF SERVICE

I certify that a copy of the foregoing has been served by U.S. mail upon Wayne A.
Ritchie, II and Robert W. Ritchie, Ritchie Fels & Dillard, P.C., P.O. Box 1126, Knoxville, TN
37901-1126 and W. Gaston Fairey, LLC, 1722 Main Street, Suite 300, Columbia, SC 29201 on
April 14, 2005.

PENTECOST, GLENN & RUDD, PLLC

intimidate

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Honorable J. Breen
US DISTRICT COURT

